      Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 1 of 7




                       UNITED STATES DISTRICT COURT

                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
     v.                                     ) CRIMINAL NO. 23-4293-DHH
                                            )
JACK DOUGLAS TEIXEIRA                       )

                   DEFENDANT JACK DOUGLAS TEIXEIRA’S
                          DETENTION HEARING




                                     Exhibit 3

      Department of the Air Force Memorandum regarding Implementation of
  Commander/First Sergeant Checklist for Airmen and Guardians under Investigation
Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 2 of 7
Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 3 of 7
    Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 4 of 7




4   Provide Area Defense Counsel (ADC) information to the member, if needed.
    Consult with JA and see notes below.
5   Ensure key personnel and the member have coping strategies in place and
    encourage healthy/positive help-seeking strategies via local resources. Ask
    directly about suicidal thoughts and contact the installation Director of
    Psychological Health/Mental Health Flight Commander or Wing Chaplain to
    seek consultation on assisting/supporting the member as necessary.
6   Inform the member of the Limited Privilege Suicide Prevention Program
    (LPSP) and refer them to the Mental Health (MH) clinic in accordance with
    AFI 44-172, Mental Health,13 November 2015, certified 23 April 2020.
7   If member is unwilling to receive MH care and does not meet criteria for CC
    directed MH evaluation, encourage that member to engage with a Behavioral
    Health Provider in Primary Care, Chaplain, or Military OneSource and provide
    applicable contact information.
8   Direct 1st Sgt or Flt/CC and supervisor conduct regular reoccurring check ins
    with member to determine coping strategies, social support,
    access/engagement with the Chaplain Corps and/or Mental Health, any
    thoughts of self-harm, and access to lethal means.
9   If personal safety is a concern and the member has access to lethal means:
           1. Encourage member to voluntarily secure personal firearms with a
              friend/armory.
           2. Restrict access to duty weapons via Do Not Arm roster if necessary
              for members residing on base or in off-base privatized housing:
                  a. CC may have authority to order member to temporarily turn
                      over personal firearms to mitigate immediate threat(s).
                  b. CC must engage the installation SJA prior to taking action in
                      this regard.
           3. Consult with medical/mental health regarding management of
              medications and safe storage.
           4. CCs may be required to notify individuals of legal restrictions from
              owning or possessing firearms and ammunition IAW federal law and
              AFMAN 71-102. See Additional Instruction, #9, for guidance.

    If safety of others is a concern assess the need for a Military Protective Order,
    DD Form 2873, and issue any such order deemed necessary.

    Consult with JA and Law Enforcement as appropriate.
Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 5 of 7
        Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 6 of 7




The investigator will notify the unit representative that the individual was interviewed and is
under investigation. (T-1). Commanders and First Sergeants will use the checklist when
notified that a Uniformed Member is under investigation under the Uniform Code of Military
Justice or a civilian justice system. (T-1). This can assist with mitigating risk of suicide, suicide
attempt or other forms of harm.

4. Following or preceding an OSI interview, the CC may have specific questions/issues they
feel they need to address with the member in question (including providing information about
legal defense services). Due to the nature of the commander’s role, and in the instance that the
member is suspected of criminal wrongdoing, any discussions may need to be preceded by an
Article 31, UCMJ, or Miranda Rights advisement. CCs should immediately and frequently
consult with their host installation SJA on whether or not they should advise a member of his
or her rights prior to discussing things related to the suspected offense, such as consultation
with an Area Defense Counsel or related matters, as it could prompt self-incriminating
responses, questions, etc., from the member to the respective CC.

5. Guidance for Check-ins. Key personnel may include those directly working with the
uniformed member in supportive or treatment capacities. Be willing to ask about possible
thoughts of wanting to die by suicide. It will help you know what type of help they may need.
Use the ACE Model for discussing suicide. ACE stands for Ask, Care, and Escort. If you notice
signs of distress or suicide risk factors, Ask your Airmen or Guardian what’s going on and if
they are having thoughts of self-harm; be an active listener and show that you Care about your
wingman; and if necessary, Escort your wingman to the appropriate helping resource.

       Additional questions to consider asking;

                • Would you tell me if you were having thoughts of harm?

                • Do you have a wingman for support?

                • For more leadership tools visit www.resilience.af.mil.

6. Limited Privilege Suicide Prevention Program (LPSP). LPSP provides limited
confidentiality with regard to information revealed in, or generated by a member’s clinical
relationship with their mental health provider. Information protected under LPSP may not be
used in existing or any future UCMJ action or when weighing characterization of service in an
administrative separation. This confidentiality is intended to help remove a potential barrier to
help-seeking. Any Airmen or Guardian is eligible for entry in the LPSP after the member has
been notified, verbally or in writing that he or she is under investigation or is suspected of the
commission of an offense under the UCMJ. The member may be placed in the LPSP program
after a MH provider determines the member poses a credible risk for suicide. Consult with SJA
and mental health for application of the LPSP program.

7. Inform members of confidentiality when/if seeking counseling services.

9. Access to Lethal Means. Access to lethal means may put a member at increased risk for
acting on thoughts of self-harm or suicide. Lethal Means Safety is a strategy to reduce potential
risk. Given the elevated risk among Airmen and Guardians under investigation, it is
recommended that unit leadership encourage the member to voluntarily relinquish firearms
        Case 1:23-mj-04293-DHH Document 20-3 Filed 04/27/23 Page 7 of 7




temporarily to be secured in the armory or to a trusted friend or unit member. Other potentially
lethal means (e.g., medications and/or hazardous chemicals) should be considered if the
member has expressed thoughts of self-harm with these means. Leaders at all levels will
comply with DoD requirements (e.g. gun locks, safe storage, danger to self or others
procedures) and consult with SJA prior to taking action that would restrict a member’s access
to weapons. Additional question CC may consider asking may include, but not limited to, do
you plan to purchase a weapon?

10. Frequent Check-ins. Check-ins (daily to 2-3 times a week) may be accomplished in
person, via telephone, or text at the discretion of the Commander. Weekly contacts with the
1st Sgt should occur face to face. Ensure that these are “caring contacts”.

11. Activity Plan. An activity plan is a set of instructions with activities to structure time
while away from work, school or other regularly scheduled activities. The activities plan
may include a daily schedule planning out each day from activities of daily living, events,
and coping strategies. The plan should include daily check-ins with peers, family, friends or
unit leadership. The plan must be re-evaluated on a regular basis and prior to any new leave
requests/long weekends. The plan must also include regular check-ins. Seek consultation
from the installation Director of Psychological Health/Mental Health Flight Commander on
frequency of check-ins and assisting/supporting the member as necessary.

12. Leave Requests. Leave requests, especially outside the local area should be carefully
considered in light of case status and the member’s coping abilities. Commander review should
be conducted in conjunction with MH, SJA, law enforcement, and supervisor input, as
appropriate. CC or 1st Sgt must coordinate with JA and law enforcement if the member is under
investigation because there may be concerns with the member being a flight risk (deserter/fugitive)
to avoid prosecution or other punitive action.

Ensure that the member does not feel “written off” by the Commander, chain of
command, unit, or peers. Airmen and Guardians under investigation must continue to meet
applicable standards and should be given opportunities to contribute to the mission and interact
with unit and peers through formal/informal squadron functions unless there are specific
reasons to exclude them from such activities. Feared loss of career is a significant stressor and
risk factor for suicide related behaviors. Social exclusion and feeling like a burden to others are
identified suicide risk factors. Keep the member integrated and productive to every extent
possible.

Additional resources are available via Violence Prevention Integrators and on the
resilience website www.resilience.af.mil.
